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 6
      Attorneys for plaintiff
 7
      TIMOTHY C. NELSON

 8

 9                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF CALIFORNIA
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     TIMOTHY C. NELSON,                                    No. 2:05-cv-01193-MCE-CKD
13        Plaintiff,
14                                                         REQUEST AND ORDER TO
     vs.                                                   DISMISS ACTION WITH
15                                                         PREJUDICE
16
     CITY OF DAVIS; JAMES HYDE, individually
17   and in his official capacity as Chief of Police for
     the CITY OF DAVIS; SERGEANT JOHN
18
     WILSON, individually and in his official
19   capacity as a Sergeant for the CITY OF DAVIS;
     CALVIN HANDY, SERGEANT MICHAEL
20   MASON, OFFICER JAVIER BARRAGAN,
     OFFICER CALVIN CHANG, OFFICER M.
21   GARCIA, individually and DOES 1-100,
22   inclusive,
             Defendants.
23

24
                      Pursuant to the fully executed Settlement Agreement and Release,
25
            Plaintiff, TIMOTHY NELSON, hereby respectfully requests that this action be
26
            dismissed with prejudice as provided for under FRCP 41(a)(2).
27

28
                    REQUEST FOR DISMISSAL & ORDER DISMISSING ACTION
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       Case 2:05-cv-01193-MCE-CKD Document 192 Filed 08/13/13 Page 2 of 2



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 2   Respectfully Submitted by:
 3
     Dated: August 7, 2013                          The Law Offices of John L. Burris
 4

 5

 6                                                  _________/s/___________________

 7                                                  ADANTE D. POINTER
                                                    Attorney for Plaintiff TIMOTHY NELSON
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 9
                                               ORDER
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11          IT IS HEREBY ORDERED that this entire action be DISMISSED with prejudice.

12   The Clerk of the Court is directed to close this case.
13   Dated: August 12, 2013
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                  REQUEST FOR DISMISSAL & ORDER DISMISSING ACTION
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